Case 1:22-cv-01032-PKC-JRC            Document 425        Filed 11/14/24      Page 1 of 1 PageID #:
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                                                                                November 14, 2024
 VIA ECF
 Hon. James R. Cho, U.S.M.J.
 United States District Court Eastern District of New York
 225 Cadman Plaza East, Courtroom 11D South
 Brooklyn, NY 11201-1804

        Re:     IME WatchDog, Inc. v. Gelardi, et al.
                Case No.: 1:22-cv-1032 (PKC) (JRC)

 Dear Judge Cho:

         This office, along with Sage Legal LLC, represents the Plaintiff IME WatchDog, Inc.
 (“Plaintiff”) in the above-referenced case. Plaintiff submits this letter jointly with Defendants and
 non-parties IME Legal Reps and Eugene Liddie in compliance with the Court’s October 24, 2024
 Order requiring the parties to submit a joint letter regarding the status of Plaintiff’s motion to
 compel (ECF Docket Entry 385).

         Defendants produced documents today and Plaintiff will need time to review same to
 determine whether they are sufficient. Moreover, Plaintiff has met and conferred with non-parties
 IME Legal Reps and Eugene Liddie regarding specific transactions that it requests they produce
 without redactions. Counsel for IME Legal Reps and Eugene Liddie indicated that she will discuss
 same with her clients. The parties and IME Legal Reps and Eugene Liddie have agreed to conduct
 a further meet and confer on November 20 at 4:30 pm. Therefore, the parties and IME Legal Reps
 and Eugene Liddie respectfully request that the Court extend their time to provide the Court with
 a more substantive update on or before November 22, 2024.

 Dated: Lake Success, New York
        November 14, 2024                      Respectfully submitted,

                                               MILMAN LABUDA LAW GROUP PLLC

                                               /s/ Jamie S. Felsen, Esq.
 Dated: Jamaica, New York
        November 14, 2024
                                               SAGE LEGAL LLC

                                               /s/ Emanuel Kataev, Esq.

 cc:    All Counsel of Record (via ECF)
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